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SETTLEMENT AGREEMENT AND RELEASE ()F ALL CLAIMS

This Settlement Agreement and Release of All Claims (“Agl'eement”) is
made by and between NEPHRON CORPORATION AND NEELA K. SHAH
(collectively “Nephron and Shah”) and EMILY BECK. (“Ms. Beck”) (colleetive|y
“the Parties").

RECITALS
WHEREAS, Ms. Becl< has filed a Lawsuit against Nephron and Shah,

WHEREAS, Nephron and Shah deny any violations of law and deny any
liability to Ms. Beel<., but wishes to avoid further legal fees and expenses, and

WHl:`REAS, the parties hereto wish to resolve all oi` their disputes and settle
these matters in a confidential manner that will avoid the need for fulther litigation,

NOW THEREFORE, in consideration of the material covenants and
promises contained herein, the parties agree as follows:

l. Consideration. In consideration for Ms. Beck’s execution of and
compliance with all his obligations under this Agreement, Nephron and Shah will
pay to Ms. Beck within/ tha-ee- -basine~ss days the total suln of
F/mOU[ deUJ{§n/Fw~( .---» oxy dollars (Sf//' OUO. a%>' ), payable as

follows:

a. @AJ fHWJ/,l~? /Lv¢~//vw¢(/ ?’Mm:¢wwa.:l/zrdellars
end (s /017;7_ 743 ) in beel< pey less eli epplle'eble legally
required deductions in accordance with normal payroll
procedures A W-2 tax form will be issued to l\/ls. Beck f`or this
amount.

-A (, \'
b. 75/'-’ ’/I//WJ 491/39 f¢’:‘/£’(' VU'V&'M W!MYJ¢*¢’~M%ollars and dpw

($/__0, 727, 4210 l as liquidated damages A form 1099 will be

issued to Ms. Becl< for this amount.

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c- 7 MmM//V{ rHU“J::°JHW/WWLWTW\'WF¢“¢*/dellars
and ($02_ f 216 _) For Ms. Becl<’s attorneys’ Fees and
costs. This amount ill be made payable to Marlin & Mai'tin
LLP. A 1099 tax form will be issued directly to l\/lartin &
Martin l_,l-I’ for this amount Ms. Becl<’s counsel agrees to

provide the Company with completed copies of` any nccessaly

 

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tax forms (including a W~9) prior to the Company making such
payments

Ms. Beck acknowledges that, but for the execution of this Agr’eement, she
would not be entitled to receive this Consideration or other consideration provided
for in this Agreement. Ms. Beck further agrees and acknowledges that the
Consider‘ation stated herein hally compensates her for any and all alleged back
wages (including those for all hours wor'ked), overtime wages, benefits or any
other form of compensation, damages, attorneys’ fees, and costs, to date and that
she neither seeks nor is entitled to any further wages, pay, overtime, benefits or any
other form of compensation or relief, and Nephron and Shah are making this
payment to eliminate any possible dispute or doubt that she has been paid fully and
completely

The parties acknowledge the adequacy of Consideration provided herein by
each to the other, that this is a legally binding document, and that they intend to
comply with and be faithful to its terms.

2. Dismissal of Lawsuit. Ms. Beck is the Plaintiff in the case styled
EM]LY BECK v. NEPHRON CORPORA TION and NEELA K. SHAH, Civil Action
Number:l:l3-ev-03408-MHS (“Lawsuit”) which is pending in the United States
Distr'ict Cour't for the Northern District of Georgia. By executing this Agreement,
Ms. Beck and her counsel agree to the dismissal ofthe Lawsuit with prejudice Ms.
Beck shall promptly execute such documents or appear in court as necessary to
obtain a dismissal with prejudice of the Lawsuit. Ms. Beck must sign this
Settlement Agr'eement and Release of All Claims and the Court must dismiss the
Lawsuit with prejudice before the Cornpany is obligated to make any payment set
forth in Paragr'aph l above.

3. Full and Complete Release. In consideration for this Agreernent,
Ms. Beck hereby settles, waivcs_, releases and discharges all claims whatsoever
against thc Nephron and Shah and the other parties released (identified in
Paragraph 5 below) with respect to each and every ciailn, cause of action, right,
liability or demand of any kind or nature known and unknown at this time that Ms.
Beck lnay have or may have had which arose at any time and which may arise at
any time until this Agreement is duly executed Such claims that are hereby
released include by way ofexample, but not limitation, all claims:

a. arising from Ms. Beck’s employment with the Nephron and
Shah; `

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b. based on discr'irnination, retaliation or harassment on the basis
of age, race, religion, sex or disability under the Civil Rights
Act of 1866, 42 U.S.C. § 1981, Title VII of the Civil Rights Act
ol` 1964, the Ernployee Retirement and Income Security Act of
1974, the Americans with Disabilities Act, the Family and
Medieal Leave Act, or any other federal, state or local laws or
common laws;

e. based on any oral, written or implied contract, tort, promissory
estoppel, or public policy; and

d. relating to any wages, pay, back pay, overtime, benefits or any
other form of compensation, attorneys’ fees (except those
provided in Par'agraph l above), interest or costs, including
attorneys’ fees incurred in connection with any review of this
Agl‘eement by an attorney.

This Agreernent does not release any right or claim which may arise after the
date of this Agr’eement nor does it extend to vested benefits, if any.

Ms. Beck agrees not to sue or authorize anyone else to file a lawsuit on his
behalf against Nephron and Shah (or' any of the parties released) on any claims
released herein. l\/ls. Beck further agrees not to become a member of any class
suing Nephron and Shah (or the other parties released) on any claims released
herein. Nothing in the Agreement is intended to or prevents Ms. Beck froln filing
a charge or complaint with the Equa| Employrnent Oppor'tunity Commission
(“EEOC”) or other governmental agency or from participating in any investigation
or proceeding conducted by the EE()C or other governmental agency. Ms. Beck,
however', agrees not to accept or recover any damages or any other form of relief
which may arise out of or in connection with any administrative proceedings
pursued by Ms. Beck, or pursued independently by thc EEOC or any other person,
agency or class on any claims released herein, and if awarded any damages from
such an action, Mr. Beck agrees to return any amount she is awarded to the
Nephron and Shah.

l\/Is. Beck further agrees not to assist any of`Nephron and Shah’s current or
former employees with any lawsuit or claims against the them, except that she may
provide truthful testimony in response to a subpoena or court order.

4. -Medical Bills, Liens, and ()ther Potential Rights for
Reimbursement.

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a. Responsibility for Satisfaction of A|l Liens. Ms. Beck
represents and warrants that all bills, costs or liens resulting from or
arising out of Ms. Beck’s alleged injuries, claims and/or the Lawsuit
are l\/Is. Becks’s responsibility to pay. Ms. Beck agrees to assume
responsibility for satisfaction of any and all demands for payment,
claims or liens of any kinds, that arise from or are related to payments
made or services provided to Ms. Beck or on Ms. Beck’s behalf. Ms.
Beck agrees to assume responsibility for all expenses, costs or fees
incurred by Ms. Beck related to Ms. Beck’s alleged injuries, claims
and/or the Lawsuit, including without limitation, all l\/Iedicare
conditional paylnents, subrogation elairns, liens or other rights to
payment, relating to medical treatment or lost wages that have been or
may be asserted by any health care provider, insurer, governmental
entity, employer or other person or entity. I"urther, Ms. Beck will
indemnify, defend and hold the parties released harmless from any
and all damages, claims and rights to payment, including any
attorneys’ fees, brought by any person, entity or governmental agency
to recover any of these amounts

b. Good Faitlr Resolution. This settlement is based upon a good
faith determination of the parties to resolve a disputed claim. The
parties have not shifted responsibility of medicai treatment to
Medicare in contravention of 42 U.S.C. Section l395y(b). The parties
resolved this matter in compliance with both state and federal law.
The parties made every effort to adequately protect Medicare’s
interest and incorporate such in the settlement terms.

c. Representation that Plaintiff is Not a Medicare Beneficiary.
Ms. Beck warrants that l\/ls. Beck is not a Medicare Beneficiary as of
the date of this Agreement and will not become a Medicare
Beneficiary within thirty (30) days after the date of the Agreement.
Because Ms. Beck is not a l\/Iedicare recipient as of the date of this
Agrcement_, no conditional payments have been made by Medicare.

d. Representation that No Medieare Conditional Payments
Exist; Best Efforts to Obtain Confirmation. Ms. Beck further
represents and warrants that she is aware of no Medicare conditional
payments that have been made on her behalfl

e. Agreement to Indemnify, Defelrd, and Hold Harmless. i\/ls.
Beck will indemnify, defend and hold the parties released harmless

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from any and all clairns, liens, Medicare conditional payments and
rights to payment, known or unknown. If any governmental entity, or
anyone acting on behalf of any governmental entity, seeks darnages,
including multiple damages, from the parties released relating to
payment by such governmental entity, or anyone acting on behalf of
such governmental entity, relating to Ms. Beck’s alleged injuries,
claims and/or the Lawsuit, Mr. Beck will defend and indemnify the
parties released and hold the parties released harmless from any and
all such damages, claims, liens, Medicare conditional payments and
rights to payment, including any attorneys’ fees sought by such
entlties.

5. Parties Released. Ms. Beck acknowledges that this Agreement and
the release provision in Paragraph 3 above apply to and protect in all respects
Nephr‘on and Shah and each of` Nephr'on’s past, current and future parent
companies, insurers, affiliates, related companies, successors and assigns, officers,
managers, directors, agents, and employees of any such entity.

6. Modif'rcation. No modification, amendments, cancellation, deletion,
addition, extension or other changes in this Agr'eement shall be effective for any
purpose unless specifically set forth in a written agreement signed by Ms. Beck,
Meeta Shah and an authorized representative of Nephron. This Agreement
constitutes a single, integrated written agreement containing the entire
understanding between Ms. Becks and Nephron and Shah regarding the subject
matter hereof and supersedes and replaces any and all prior agreements and
understandings written or oral.

7. Conf'identiality. Unless otherwise required by law or pursuant to
court order, Ms. Beck agrees to keep the subject matter of his Lawsuit, the
existence of this Agreernent, and the fact she received any money from Nephron
and Shah in connection with this Agreement absolutely and strictly confidential
forever. Ms. Beck represents that she has not disclosed the subject matter or terms
of this Agreement or the amount of the Considcration at any time before execution
ofthe Agreernent. Ms. Beck agrees not to discuss anything about this Agreement
with anyone (other than her spouse, her attorney or other adviser she consults for
professional advice, and all such persons shall be apprised ofthe provisions of`this
Paragraph and must agree to be bound by them prior to making any disclosures to
them), and Ms. Beck will not authorize anyone to discuss anything about this
Agreement, including all of the matters that she agreed to keep confidential
Notwithstanding this paragraph, she may disclose that she “dismissed her claim
and decided to move on." l\/ls. Beck shall not contact any current or former

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employees of Nephron regarding her claims or the disposition or outcome of this
action.

8. Mutual Non-Disparagement. l‘vls. Beck shall not make any
disparaging remarks of any sort or otherwise communicate any disparaging
comments about Nephron or Shah or any of the other released entities or persons to
any third party at any time following her execution of this Agreement. Nephron
and Shah agree not to initiate or continue any investigation into Ms. Beck’s
conduct or performance, unless evidence of violations of law are discovered
Furthermore, Nephron agrees that it shall not make any disparaging remarks about
Ms. Beck to any other person or entity (for purposes of this Paragraph 8, in regard
to Nephron’s non-disparagement obligations only, “Nephron” shall also mean
individuals Neela I(. Shah and Kirti K. Shah, the officers of Nephron, Nephron’s
Board of Directors for the duration of the Agreement). In accordance with
Nephron’s usual practice1 Nephron will confirm Ms. Beck’s dates of employment
and Ms. Beck’s job description upon requestl Notwithstanding the above, nothing
in this provision shall prevent or prohibit any Party from testifying in any legal
proceeding, including at deposition, hearing or trial, from cooperating in good faith
in any governmental investigation or action, or from making any report required by
law.

9. Non-Admissions. This Agreement does not constitute an admission
by any party that they have violated any law or statute and all parties specifically
deny any such violation occur'red.

l[}. Non-Waiver. Nephron and Shah’s failure to enforce any provision of
this Agreement shall not act as a waiver of that or any other provision. Nephron
and Shah’s waiver of any breach of this Agreement shall not act as a waiver of any
other breach.

ll. Severability. The provisions of this Agreement are severable. lf` any
provision is determined to be invalid, illegal, or unenforceable, in whole or in part,
then such provision shall be modified so as to be enforceable to the maximum
extent permitted by law. lf such provision cannot be modified to be enforceable,
their the unenforceable element of the provision (or, failing that, the entire
provision) shall be severed from this Agreement. The remaining provisions and
any partially enforceable provisions shall remain in full force and effect.

12. No Strict Construction. lf` there is a dispute about the language of
this Agreernent, the fact that one party drafted the Agreelnent shall not be used in
its interpretation

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13. Acknowledgments. By signing this Agr'eement, Ms. Beck
acknowledges and warrants that:

a. l\/Is. Beck has carefully read and fully understands every provision of
this Agreement, including, without limitation, the confidentiality
clause in Paragraph 7 above, the release of all claims listed in
Paragraph 3 above and l\/ls. Beck’s agreement to dismiss her Lawsuit
with referenced in Paragraph 2;

b. Ms. Beck was advised in writing, via this Agl'eement to consult with
an attorney and, in fact, consulted with an attorney of her choosing
before signing this Agreement;

c. Ms. Beck has had a reasonable amount of time after receiving this
Agreement to consider it; and

d. Ms. Beck accepts this Agreement knowingly and voluntarily, and she
was not intimidated coerced or pressured

14. Representations. Ms. Beck represents and warrants that she is fully
authorized to execute this Agreement and that she has not assigned, transferred or
pledged all or any portion of the claims hereby released

MR. sack DECLARES rrr-rAT sue HAs carrururrr,v seen rrrrrs
AGREEMEN'I‘, coNsuLTsD AN A'rroar\lr~:v, uNDERsTANDs 'rrlrs
AGREEMENT, AND sxscurss 'rrrrs AGREEMENT snowmch Auo
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Neela K. 'Shah

 

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Date

 

 

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